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 2   District of Nevada
     Nevada Bar Number 13644
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 3   Assistant United States Attorney
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 6   Attorneys for the United States of America

 7                                 UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEVADA
 8

 9   UNITED STATES OF AMERICA,                         Case No. 2:20-mj-00709-BNW

                    Plaintiff,
10
                                                       Stipulation to Continue the Preliminary
                            v.                         Examination Date and Exclude Time Under
11
                                                       the Speedy Trial Act
     SHEENA ELKIND,
12                                                     (Second Request)
                    Defendant.
13

14

15          IT IS HEREBY STIPULATED AND AGREED by and between, Nicholas A.

16   Trutanich, United States Attorney, District of Nevada, Christopher Lin, Assistant United States

17   Attorney, representing the United States of America, and Gabriel Grasso, Esq., representing

18   Defendant Elkind, that the Preliminary Examination date in the above captioned case, which is

19   currently scheduled for September 22, 2020 at 1:00 P.M., be continued to a date and time

20   convenient for the Court but not less than 30 days from the current setting. The parties also

21   stipulate to an extension of (1) the 30-day period under 18 U.S.C. § 3161(b) in which an

22   indictment or information must be returned, and (2) the 90-day period under 18 U.S.C. § 3164(b)

23   for commencing trial for a detained defendant.

24   1.     On March 16, 2020, the Chief Judge of the U.S. District Court for the District of Nevada
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 1        issued Temporary General Order 2020-03, which found that due to the outbreak of the

 2        coronavirus disease 2019 (“COVID-2019”) in the District of Nevada, the declaration by

 3        the Governor of the State of Nevada of a public health emergency due to the spread of

 4        COVID-19 in Nevada, and the declaration of local emergencies by local governments due

 5        to COVID-19, including Clark County, the Court has sustained “reduced ability to obtain

 6        an adequate spectrum of jurors,” and it noted the effects of public health

 7        recommendations, including “social distancing measures.” General Order 2020-03

 8        accordingly continued all civil and criminal trials until April 10, 2020, pending further

 9        order of the Court and found that “the ends of justice are best served by ordering the

10        continuances, which outweighs the best interests of the public and any defendant’s right

11        to a speedy trial under 18 U.S.C. § 3161(h)(7)(A).” On April 9, 2020, Chief Judge Du

12        entered Amended General Order 2020-03, which provided, “the Court has determined

13        that jury trials must be further postponed” without indicating how long the postponement

14        will continue. Amended General Order 2020-03 states further that the “each presiding

15        judge will address any needed continuance of their trial in their individual cases.”

16   2.   On March 19, 2020, the Chief Judge of the U.S. District Court for the District of Nevada

17        issued Temporary General Order 2020-04, which noted that “the COVID-19 pandemic

18        has continued to spread,” resulting in the need for “more aggressive social-distancing

19        measures.” The Court noted further that, “[o]n March 17, 2020, the Governor of the

20        State of Nevada ordered the closure of many business establishments and strongly

21        encouraged all citizens to stay home.” Accordingly, the Court ordered the temporary

22        closure of the Clerk’s office, and implemented other changes, including “striving to

23        eliminate in-person court appearances.” In the event any hearing must go forward, the

24        Court will conduct the hearing via video or teleconference. On April 29, 2020, the Court

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 1        issued an amended General Order 2020-04, setting forth certain filing procedures and

 2        noting its “plans to incrementally resume in-person court appearances as appropriate

 3        based on recommended health guidelines.”

 4   3.   On March 30, 2020, the Court issued Temporary General Order 2020-05, making

 5        findings under section 15002(b)(1) of the Coronavirus Aid, Relief, and Economic

 6        Security Act (“CARES Act”), authorizing the use of video and telephone for court

 7        hearings, and noting that all courtrooms would be physically closed to the parties and

 8        the public. On June 25, 2020, the Court issued Amended General Order 2020-05,

 9        extending the original order for 90 days, until September 28, 2020.

10   4.   Based on the public health emergency brought about by the COVID-2019 pandemic, the

11        required social-distancing measures as recognized in the Temporary General Orders, and

12        the need for additional time to prepare the defense, both during the public health

13        emergency and once the public health emergency is resolved, the parties agree to

14        continue the currently scheduled Preliminary Examination on September 22, 2020, to a

15        date and time convenient for the Court, but not less than 30 days from the current

16        settings.

17   5.   This continuance is not sought for purposes of delay, but to account for the necessary

18        social-distancing in light of the COVID-2019 public health emergency, and to allow the

19        defense adequate time to prepare during the public health emergency and following its

20        resolution.

21   6.   Denial of this request could result in a miscarriage of justice, and the ends of justice

22        served by granting this request outweigh the best interests of the public and the defendant

23        in a speedy trial.

24   7.   The defendant is at liberty and does not object to the continuance.

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 1   8.    This is the parties’ second request to continue the Preliminary Examination date.

 2   9.    The additional time requested by this stipulation is excludable in computing the time

 3         within which the trial must commence pursuant to the Speedy Trial Act, Title 18, United

 4         States Code, Sections 3161(h)(7)(A), and considering the factors under Title 18, United

 5         States Code, Section 3161(h)(7)(B)(i) and (iv).

 6

 7         DATED this 22nd day of September, 2020.

 8

 9   NICHOLAS A. TRUTANICH
     United States Attorney
10
     /s/ Christopher Lin                                /s/ Gabriel Grasso
11   CHRSTIOPHER LIN                                    GABRIEL GRASSO, Esq.
     Assistant United States Attorney                   Counsel for Defendant
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 1                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
 2

 3   United States of America,                           )       Case No. 2:20-mj-00709-BNW
                                                         )
 4                          Plaintiff,                   )       Findings and Order on Stipulation
                                                         )
 5        v.                                             )
                                                         )
 6   SHEENA ELKIND,                                      )
                                                         )
 7                         Defendant.                    )
                                                         )
 8

 9             Based on the pending Stipulation between the defense and the government, and good

10   cause appearing therefore, the Court hereby finds that:

     1.        To account for the necessary social-distancing in light of the COVID-2019 public health
11
               emergency and to allow the defense adequate time to prepare during and following the
12
               resolution of this public health emergency, the Preliminary Examination date in this case
13
               should be continued.
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     2.        The parties agree to this continuance.
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     3.        The defendant is at liberty and does not object to the continuance.
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     4.        This continuance is not sought for purposes of delay.
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     5.        Denial of this request could result in a miscarriage of justice, and the ends of justice
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               served by granting this request outweigh the best interest of the public and the defendants
19
               in a speedy trial.
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     6.        The Speedy Trial Act’s indictment clock under 18 U.S.C. § 3161(b) is extended to the
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               Preliminary Hearing date set below.
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     7.        The additional time requested by this stipulation is excludable in computing the time
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               within which the trial must commence pursuant to the Speedy Trial Act, Title 18, United
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 1         States Code, Sections 3161(h)(7)(A), and considering the factors under Title 18, United

 2         States Code, Section 3161(h)(7)(B)(i) and (iv).

 3         THEREFORE, IT IS HEREBY ORDERED that the Preliminary Examination in the

 4   above-captioned matter currently scheduled for August 22, 2020 be vacated and continued to

     _______________________,
     10/26/2020 at 9:30 AM.   __________, at the hour of ____:____ _.M.
 5
           DATED this ___
                      25thday
                           dayofofSeptember,
                                   September,2020.
                                               2020.
 6

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 8                                             ____________________________________
                                               HONORABLE BRENDA N. WEKSLER
 9                                             United States Magistrate Judge
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